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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION                                                            ENTERED
                                                                                                              06/29/2021
                                                             )
In re:                                                       )
                                                             ) Chapter 11
NEIMAN MARCUS GROUP LTD LLC, et al., 1                       )
                                                             ) Case No. 20-32519 (DRJ)
                  Reorganized Debtors.                       )
                                                             ) (Jointly Administered)
                                                             )

                                ORDER SUSTAINING
                   LIQUIDATING TRUSTEE’S THIRTEENTH OMNIBUS
                 OBJECTION TO CLAIMS (BOOKS AND RECORDS CLAIMS)

                                         [Related Docket No. 2486]

         Upon the Objection2 of the Liquidating Trustee seeking entry of an order (this “Order”)

(i) disallowing and expunging or (ii) reducing and allowing, as applicable, the claims identified

on Schedule 1 attached hereto, it is HEREBY ORDERED THAT:

         1.       The Objection is sustained as set forth herein.

         2.       Each claim identified on Schedule 1A to this Order is disallowed in its entirety.

         3.       Each claim identified on Schedule 1B to this Order is reduced to the allowed

amount as identified.


1
    The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
    federal tax identification number, are: Neiman Marcus Group LTD LLC (9435); Bergdorf Goodman Inc.
    (5530); Bergdorf Graphics, Inc. (9271); BG Productions, Inc. (3650); Mariposa Borrower, Inc. (9015);
    Mariposa Intermediate Holdings LLC (5829); NEMA Beverage Corporation (3412); NEMA Beverage Holding
    Corporation (9264); NEMA Beverage Parent Corporation (9262); NM Bermuda, LLC (2943); NM Financial
    Services, Inc. (2446); NM Nevada Trust (3700); NMG California Salon LLC (9242); NMG Florida Salon LLC
    (9269); NMG Global Mobility, Inc. (0664); NMG Notes PropCo LLC (1102); NMG Salon Holdings LLC
    (5236); NMG Salons LLC (1570); NMG Term Loan PropCo LLC (0786); NMG Texas Salon LLC (0318);
    NMGP, LLC (1558); The Neiman Marcus Group LLC (9509); The NMG Subsidiary LLC (6074); and Worth
    Avenue Leasing Company (5996). The Reorganized Debtors’ service address is: One Marcus Square, 1618
    Main Street, Dallas, Texas 75201.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Liquidating
    Trustee’s Thirteenth Omnibus Objection to Claims (Books and Records Claims).


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         4.       The hearing on the Objection as it relates to the claims identified on Schedule 2 is

hereby adjourned to a later date to be determined.

         5.       The Liquidating Trustee’s Objection to each of the claims identified on

Schedule 3 is hereby withdrawn without prejudice.3

         6.       Bankruptcy Management Solutions, Inc. d/b/a Stretto (“Stretto”) is authorized and

directed to update the claims register maintained in these chapter 11 cases to reflect the relief

granted in this Order.

         7.       Each claim and the objections by the Liquidating Trustee to each claim identified

in Schedule 1 constitutes a separate contested matter as contemplated by Bankruptcy Rule 9014.

This Order will be deemed a separate order with respect to each claim identified on Schedule 1.

         8.       Nothing in this Order affects administrative, secured, or priority amounts in the

claims identified on Schedule 1, and the Reorganized Debtors reserve the right to object to the

administrative, secured, or priority amounts on any basis whatsoever.

         9.       Notwithstanding the relief granted in this Order or any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

prepetition claim against a Debtor entity or such Debtor entity’s estate; (b) a waiver of any

party’s right to dispute any prepetition claim on any grounds; (c) a promise or requirement to pay

any prepetition claim; (d) an implication or admission that any particular claim is of a type

specified or defined in this Objection or any order granting the relief requested by this Objection;

(e) a request or authorization to assume any prepetition agreement, contract, or lease pursuant to




3
    For the avoidance of doubt, certain claim objections originally scheduled on the Liquidating Trustee’s Thirteenth
    Omnibus Objection to Claims (Books and Records Claims) were withdrawn by separate notice dated June 10,
    2021. See Liquidating Trustee’s Notice of Withdrawal of Certain Claims Objections [Docket No. 2536].


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section 365 of the Bankruptcy Code; or (f) a waiver of the Liquidating Trustee’s rights under the

Bankruptcy Code or any other applicable law.

        10.     The terms and conditions of this Order will be immediately effective and

enforceable upon its entry.

        11.     The Liquidating Trustee, Stretto, and the Clerk of the Court are authorized to take

all actions necessary to effectuate the relief granted pursuant to this Order in accordance with the

Objection.

        12.     This Court shall retain exclusive jurisdiction to resolve any dispute arising from

or related to this Order.



Houston,                                  Texas
      Signed: June 29, 2021.
Date:                                  , 2021
                                                   ____________________________________
                                                   THE HONORABLE DAVID R. JONES
                                                   DAVID R. JONES
                                                   CHIEF
                                                   UNITEDUNITED
                                                           STATESSTATES  BANKRUPTCY
                                                                  BANKRUPTCY   JUDGE
                                                   JUDGE




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                         Schedule 1
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                         Schedule 1A

                     Disallowed Claims
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                                                  Schedule 1A
          Name of                                                                               Reasoning for
Ref #                  Debtor Name      Claim #   Date Filed            Claim Amounts
          Claimant                                                                                Objection
                                                               Administrative: $0.00
                                                               Secured: $0.00
                                                                                               Claim is inconsistent
        ABACUS         The Neiman                              Priority: $0.00
                                                                                               with the Reorganized
  1     TECHNICAL      Marcus Group    962        5/28/2020    General Unsecured: $27,470.36
                                                                                                Debtors’ books and
        SERVICES LLC   LLC
                                                                                                      records
                                                               Total: $27,470.36

                                                               Administrative: $0.00
                                                               Secured: $0.00
                                                                                               Claim is inconsistent
                                                               Priority: $0.00
        ABYSS &        Neiman Marcus                                                           with the Reorganized
  2                                    68         5/8/2020     General Unsecured: $23,520.00
        HABIDECOR      Group LTD LLC                                                            Debtors’ books and
                                                                                                      records
                                                               Total: $23,520.00

                                                               Administrative: $0.00
                                                               Secured: $0.00
                                                                                               Claim is inconsistent
        ALEWEL'S                                               Priority: $0.00
                       Neiman Marcus                                                           with the Reorganized
  3     COUNTRY                        222        5/11/2020    General Unsecured: $18,384.00
                       Group LTD LLC                                                            Debtors’ books and
        MEATS
                                                                                                      records
                                                               Total: $18,384.00

                                                               Administrative: $0.00
                                                               Secured: $0.00
                                                                                               Claim is inconsistent
                       The Neiman                              Priority: $0.00
                                                                                               with the Reorganized
  4     ALLUME         Marcus Group    814        5/22/2020    General Unsecured: $29,508.86
                                                                                                Debtors’ books and
                       LLC
                                                                                                      records
                                                               Total: $29,508.86

                                                               Administrative: $0.00
                                                               Secured: $0.00
                                                                                               Claim is inconsistent
                                                               Priority: $0.00
        ARMAN          Neiman Marcus                                                           with the Reorganized
  5                                    1932       7/16/2020    General Unsecured: $25,970.00
        JEWELRY INC    Group LTD LLC                                                            Debtors’ books and
                                                                                                      records
                                                               Total: $25,970.00

                                                               Administrative: $0.00
                                                               Secured: $0.00
                                                                                               Claim is inconsistent
                                                               Priority: $0.00
        CHARLES        Neiman Marcus                                                           with the Reorganized
  6                                    1415       6/25/2020    General Unsecured: $22,683.04
        TERHOUT        Group LTD LLC                                                            Debtors’ books and
                                                                                                      records
                                                               Total: $22,683.04

                                                               Administrative: $0.00
                                                               Secured: $0.00
                                                                                               Claim is inconsistent
                                                               Priority: $0.00
        CODY FOSTER & Neiman Marcus                                                            with the Reorganized
  7                                    224        5/11/2020    General Unsecured: $23,101.50
        CO., INC      Group LTD LLC                                                             Debtors’ books and
                                                                                                      records
                                                               Total: $23,101.50

                                                               Administrative: $0.00
                                                               Secured: $0.00
                                                                                               Claim is inconsistent
                                                               Priority: $0.00
                       Neiman Marcus                                                           with the Reorganized
  8     DD KARMA LLC                   733        5/20/2020    General Unsecured: $23,780.90
                       Group LTD LLC                                                            Debtors’ books and
                                                                                                      records
                                                               Total: $23,780.90




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                                                   Schedule 1A
          Name of                                                                                Reasoning for
Ref #                   Debtor Name      Claim #   Date Filed            Claim Amounts
          Claimant                                                                                 Objection
                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                Claim is inconsistent
                                                                Priority: $0.00
        ELK GROUP     Neiman Marcus                                                             with the Reorganized
  9                                     703        5/20/2020    General Unsecured: $38,081.71
        INTERNATIONAL Group LTD LLC                                                              Debtors’ books and
                                                                                                       records
                                                                Total: $38,081.71

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                Claim is inconsistent
                                                                Priority: $0.00
        GP INTERIORS    Neiman Marcus                                                           with the Reorganized
 10                                     184        5/11/2020    General Unsecured: $14,310.00
        SRLS            Group LTD LLC                                                            Debtors’ books and
                                                                                                       records
                                                                Total: $14,310.00

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                Claim is inconsistent
                                                                Priority: $0.00
        JILL PUMPELLY   Neiman Marcus                                                           with the Reorganized
 11                                     202        5/15/2020    General Unsecured: $14,580.00
        FINE ART, LLC   Group LTD LLC                                                            Debtors’ books and
                                                                                                       records
                                                                Total: $14,580.00

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                Claim is inconsistent
                                                                Priority: $0.00
                       Neiman Marcus                                                            with the Reorganized
 12     JPT GROUP, LLC                  1230       6/14/2020    General Unsecured: $24,633.90
                       Group LTD LLC                                                             Debtors’ books and
                                                                                                       records
                                                                Total: $24,633.90

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                Claim is inconsistent
                                                                Priority: $0.00
        JULIA KNIGHT    Neiman Marcus                                                           with the Reorganized
 13                                     13         5/7/2020     General Unsecured: $16,257.55
        INC.            Group LTD LLC                                                            Debtors’ books and
                                                                                                       records
                                                                Total: $16,257.55

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                Claim is inconsistent
                                                                Priority: $0.00
        JUST BEE        Neiman Marcus                                                           with the Reorganized
 14                                     235        5/11/2020    General Unsecured: $18,758.56
        QUEEN           Group LTD LLC                                                            Debtors’ books and
                                                                                                       records
                                                                Total: $18,758.56

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                Claim is inconsistent
                                                                Priority: $0.00
        KALATY RUG      Neiman Marcus                                                           with the Reorganized
 15                                     191        5/11/2020    General Unsecured: $44,190.00
        CORP.           Group LTD LLC                                                            Debtors’ books and
                                                                                                       records
                                                                Total: $44,190.00

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                Claim is inconsistent
                                                                Priority: $0.00
        KAT MACONIE     Neiman Marcus                                                           with the Reorganized
 16                                     620        5/19/2020    General Unsecured: $16,851.00
        LIMITED         Group LTD LLC                                                            Debtors’ books and
                                                                                                       records
                                                                Total: $16,851.00




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                                                   Schedule 1A
           Name of                                                                                Reasoning for
Ref #                   Debtor Name      Claim #   Date Filed            Claim Amounts
           Claimant                                                                                 Objection
                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                 Claim is inconsistent
                                                                Priority: $0.00
                        Bergdorf                                                                 with the Reorganized
 17     LUZ CAMINO                      189        5/11/2020    General Unsecured: $40,578.00
                        Goodman Inc.                                                              Debtors’ books and
                                                                                                        records
                                                                Total: $40,578.00

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                 Claim is inconsistent
                                                                Priority: $0.00
        MARGIELA USA    Neiman Marcus                                                            with the Reorganized
 18                                     558        5/18/2020    General Unsecured: $32,997.00
        INC             Group LTD LLC                                                             Debtors’ books and
                                                                                                        records
                                                                Total: $32,997.00

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                 Claim is inconsistent
        MATRIX                                                  Priority: $0.00
                        Neiman Marcus                                                            with the Reorganized
 19     RESOURCES,                      917        5/27/2020    General Unsecured: $20,999.87
                        Group LTD LLC                                                             Debtors’ books and
        INC.
                                                                                                        records
                                                                Total: $20,999.87

                                                                Administrative: $0.00
                                                                Secured: $0.00                  Claim is inconsistent
        N. GOGOLICK &   Neiman Marcus                           Priority: $0.00                 with the Reorganized
 20     SON CORP        Group LTD LLC   1628       7/15/2020    General Unsecured: $14,994.00   Debtors’ books and
                                                                                                records
                                                                Total: $14,994.00

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                 Claim is inconsistent
        OLARTE                                                  Priority: $0.00
                        Neiman Marcus                                                            with the Reorganized
 21     FOUSSARD &                      1032       6/1/2020     General Unsecured: $14,910.89
                        Group LTD LLC                                                             Debtors’ books and
        CO, INC
                                                                                                        records
                                                                Total: $14,910.89

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                 Claim is inconsistent
                                                                Priority: $0.00
        REBECCA         Neiman Marcus                                                            with the Reorganized
 22                                     520        5/15/2020    General Unsecured: $18,506.50
        TAYLOR, INC.    Group LTD LLC                                                             Debtors’ books and
                                                                                                        records
                                                                Total: $18,506.50

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                 Claim is inconsistent
                                                                Priority: $0.00
                        Neiman Marcus                                                            with the Reorganized
 23     REEM ACRA                       1782       7/16/2020    General Unsecured: $17,065.29
                        Group LTD LLC                                                             Debtors’ books and
                                                                                                        records
                                                                Total: $17,065.29

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                 Claim is inconsistent
                                                                Priority: $0.00
        REWARDSTYLE,    Bergdorf                                                                 with the Reorganized
 24                                     510        5/15/2020    General Unsecured: $14,421.19
        INC             Goodman Inc.                                                              Debtors’ books and
                                                                                                        records
                                                                Total: $14,421.19




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                                               Schedule 1A
          Name of                                                                                Reasoning for
Ref #                   Debtor Name      Claim #   Date Filed            Claim Amounts
          Claimant                                                                                 Objection
                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                Claim is inconsistent
                                                                Priority: $0.00
                        Neiman Marcus                                                           with the Reorganized
 25     SIENA LASKER                    996        5/29/2020    General Unsecured: $23,400.00
                        Group LTD LLC                                                            Debtors’ books and
                                                                                                       records
                                                                Total: $23,400.00

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                Claim is inconsistent
                                                                Priority: $0.00
                        Neiman Marcus                                                           with the Reorganized
 26     SIGNED PIECES                   1337       6/19/2020    General Unsecured: $38,334.15
                        Group LTD LLC                                                            Debtors’ books and
                                                                                                       records
                                                                Total: $38,334.15

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                Claim is inconsistent
                                                                Priority: $0.00
        SKC & SONS,     Neiman Marcus                                                           with the Reorganized
 27                                     709        5/20/2020    General Unsecured: $32,099.80
        INC.            Group LTD LLC                                                            Debtors’ books and
                                                                                                       records
                                                                Total: $32,099.80

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                Claim is inconsistent
                                                                Priority: $0.00
        SOLACE          Neiman Marcus                                                           with the Reorganized
 28                                     832        5/26/2020    General Unsecured: $22,150.32
        LONDON          Group LTD LLC                                                            Debtors’ books and
                                                                                                       records
                                                                Total: $22,150.32

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                Claim is inconsistent
                                                                Priority: $0.00
        THIERRY         Neiman Marcus                                                           with the Reorganized
 29                                     1496       7/6/2020     General Unsecured: $23,980.42
        MUGLER SAS      Group LTD LLC                                                            Debtors’ books and
                                                                                                       records
                                                                Total: $23,980.42

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                Claim is inconsistent
                                                                Priority: $0.00
        US BOX          Neiman Marcus                                                           with the Reorganized
 30                                     75         5/8/2020     General Unsecured: $18,841.20
        FACTORY         Group LTD LLC                                                            Debtors’ books and
                                                                                                       records
                                                                Total: $18,841.20




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                         Schedule 1B

                 Reduced and Allowed Claims
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                                                                Schedule 1B
Ref     Name of                                                                                                                Reasoning for
                      Debtor Name      Claim #   Date Filed            Claim Amounts              Allowed Claim Amount
 #      Claimant                                                                                                                 Objection
                                                              Administrative: $0.00           Administrative: $0.00
                                                              Secured: $0.00                  Secured: $0.00
                                                                                                                              Claim is inconsistent
                                                              Priority: $0.00                 Priority: $0.00
                      Neiman Marcus                                                                                           with the Reorganized
 1    BASTIDE                         1274       6/18/2020    General Unsecured: $43,697.20   General Unsecured: $23,463.35
                      Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                     records
                                                              Total: $43,697.20               Total: $23,463.35


                                                              Administrative: $0.00           Administrative: $0.00
                                                              Secured: $0.00                  Secured: $0.00
                                                                                                                              Claim is inconsistent
                                                              Priority: $0.00                 Priority: $0.00
      CHEFS CORNER Neiman Marcus                                                                                              with the Reorganized
 2                                    2666       8/12/2020    General Unsecured: $47,085.55   General Unsecured: $117.00
      STORE        Group LTD LLC                                                                                              Debtors’ books and
                                                                                                                                     records
                                                              Total: $47,085.55               Total: $117.00


                                                              Administrative: $0.00           Administrative: $0.00
                                                              Secured: $0.00                  Secured: $0.00
                                                                                                                              Claim is inconsistent
                                                              Priority: $0.00                 Priority: $0.00
      CIRE TRUDON     Neiman Marcus                                                                                           with the Reorganized
 3                                    700        5/20/2020    General Unsecured: $21,599.50   General Unsecured: $5,495.89
      USA INC         Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                     records
                                                              Total: $21,599.50               Total: $5,495.89


                                                              Administrative: $0.00           Administrative: $0.00
                                                              Secured: $0.00                  Secured: $0.00
                                                                                                                              Claim is inconsistent
                                                              Priority: $0.00                 Priority: $0.00
      CREATIVE        Neiman Marcus                                                                                           with the Reorganized
 4                                    1913       7/20/2020    General Unsecured: $44,734.21   General Unsecured: $2,691.74
      GROUP           Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                     records
                                                              Total: $44,734.21               Total: $2,691.74


                                                              Administrative: $0.00           Administrative: $0.00
                                                              Secured: $0.00                  Secured: $0.00
                                                                                                                              Claim is inconsistent
      DESIGNS BY                                              Priority: $0.00                 Priority: $0.00
                      Neiman Marcus                                                                                           with the Reorganized
 5    TAMARA NOVA                     10         5/7/2020     General Unsecured: $16,331.00   General Unsecured: $1,511.00
                      Group LTD LLC                                                                                           Debtors’ books and
      COLLECTION
                                                                                                                                     records
                                                              Total: $16,331.00               Total: $1,511.00


                                                              Administrative: $0.00           Administrative: $0.00
                                                              Secured: $0.00                  Secured: $0.00
                                                                                                                              Claim is inconsistent
                                                              Priority: $0.00                 Priority: $0.00
      DEVINE          Neiman Marcus                                                                                           with the Reorganized
 6                                    1010       6/1/2020     General Unsecured: $21,273.14   General Unsecured: $945.45
      CORPORATION     Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                     records
                                                              Total: $21,273.14               Total: $945.45


                                                              Administrative: $0.00           Administrative: $0.00
                                                              Secured: $0.00                  Secured: $0.00
                                                                                                                              Claim is inconsistent
                                                              Priority: $0.00                 Priority: $0.00
      DEVON LEIGH     Neiman Marcus                                                                                           with the Reorganized
 7                                    256        5/12/2020    General Unsecured: $20,182.00   General Unsecured: $4,668.00
      DESIGNS, INC.   Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                     records
                                                              Total: $20,182.00               Total: $4,668.00


                                                              Administrative: $0.00           Administrative: $0.00
                                                              Secured: $0.00                  Secured: $0.00
                                                                                                                              Claim is inconsistent
      DR.                                                     Priority: $0.00                 Priority: $0.00
                      Neiman Marcus                                                                                           with the Reorganized
 8    LIVINGSTONE I                   169        5/13/2020    General Unsecured: $36,213.12   General Unsecured: $11,634.36
                      Group LTD LLC                                                                                           Debtors’ books and
      PRESUME
                                                                                                                                     records
                                                              Total: $36,213.12               Total: $11,634.36


                                                              Administrative: $0.00           Administrative: $0.00
                                                              Secured: $0.00                  Secured: $0.00
                                                                                                                              Claim is inconsistent
                                                              Priority: $0.00                 Priority: $0.00
      EUGENIA KIM     Neiman Marcus                                                                                           with the Reorganized
 9                                    366        5/13/2020    General Unsecured: $42,125.00   General Unsecured: $27,343.85
      INC             Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                     records
                                                              Total: $42,125.00               Total: $27,343.85


                                                              Administrative: $0.00           Administrative: $0.00
                                                              Secured: $0.00                  Secured: $0.00
                                                                                                                              Claim is inconsistent
                                                              Priority: $0.00                 Priority: $0.00
      FOUR HANDS,     Neiman Marcus                                                                                           with the Reorganized
10                                    2394       7/20/2020    General Unsecured: $31,457.68   General Unsecured: $15,271.92
      LLC             Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                     records
                                                              Total: $31,457.68               Total: $15,271.92


                                                              Administrative: $0.00           Administrative: $0.00
                                                              Secured: $0.00                  Secured: $0.00
      GILMAR                                                                                                                  Claim is inconsistent
                                                              Priority: $0.00                 Priority: $0.00
      DIVISIONE       Bergdorf                                                                                                with the Reorganized
11                                    844        5/25/2020    General Unsecured: $44,403.95   General Unsecured: $22,891.40
      INDUSTRIA       Goodman Inc.                                                                                            Debtors’ books and
      S.P.A.                                                                                                                         records
                                                              Total: $44,403.95               Total: $22,891.40




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                                                                 Schedule 1B
Ref      Name of                                                                                                                Reasoning for
                       Debtor Name      Claim #   Date Filed            Claim Amounts              Allowed Claim Amount
 #       Claimant                                                                                                                 Objection
                                                               Administrative: $0.00           Administrative: $0.00
                                                               Secured: $0.00                  Secured: $0.00
                                                                                                                               Claim is inconsistent
                                                               Priority: $0.00                 Priority: $0.00
      GROWN            Neiman Marcus                                                                                           with the Reorganized
12                                     956        5/28/2020    General Unsecured: $48,385.15   General Unsecured: $30,311.00
      ALCHEMIST        Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                      records
                                                               Total: $48,385.15               Total: $30,311.00


                                                               Administrative: $0.00           Administrative: $0.00
                                                               Secured: $0.00                  Secured: $0.00
                                                                                                                               Claim is inconsistent
                                                               Priority: $0.00                 Priority: $0.00
      H.O.B. LLC DBA   Neiman Marcus                                                                                           with the Reorganized
13                                     655        5/20/2020    General Unsecured: $21,519.00   General Unsecured: $255.00
      LEE BREVARD      Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                      records
                                                               Total: $21,519.00               Total: $255.00


                                                               Administrative: $0.00           Administrative: $0.00
                                                               Secured: $0.00                  Secured: $0.00
                                                                                                                               Claim is inconsistent
                                                               Priority: $0.00                 Priority: $0.00
                       Neiman Marcus                                                                                           with the Reorganized
14    JETSETGO, LLC                    285        5/12/2020    General Unsecured: $19,886.78   General Unsecured: $1,624.56
                       Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                      records
                                                               Total: $19,886.78               Total: $1,624.56


                                                               Administrative: $0.00           Administrative: $0.00
                                                               Secured: $0.00                  Secured: $0.00
                                                                                                                               Claim is inconsistent
                                                               Priority: $0.00                 Priority: $0.00
                       Neiman Marcus                                                                                           with the Reorganized
15    JOULES USA INC                   1183       6/10/2020    General Unsecured: $27,786.26   General Unsecured: $7,792.23
                       Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                      records
                                                               Total: $27,786.26               Total: $7,792.23


                                                               Administrative: $0.00           Administrative: $0.00
                                                               Secured: $0.00                  Secured: $0.00
                                                                                                                               Claim is inconsistent
                                                               Priority: $0.00                 Priority: $0.00
      KOH GEN DO       Neiman Marcus                                                                                           with the Reorganized
16                                     2226       7/20/2020    General Unsecured: $46,654.19   General Unsecured: $10,082.71
      AMERICAS LLC     Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                      records
                                                               Total: $46,654.19               Total: $10,082.71


                                                               Administrative: $0.00           Administrative: $0.00
                                                               Secured: $0.00                  Secured: $0.00
                                                                                                                               Claim is inconsistent
                                                               Priority: $0.00                 Priority: $0.00
      LE CREUSET OF Neiman Marcus                                                                                              with the Reorganized
17                                     439        5/14/2020    General Unsecured: $42,525.73   General Unsecured: $3,846.40
      AMERICA, INC. Group LTD LLC                                                                                              Debtors’ books and
                                                                                                                                      records
                                                               Total: $42,525.73               Total: $3,846.40


                                                               Administrative: $0.00           Administrative: $0.00
                                                               Secured: $0.00                  Secured: $0.00
                                                                                                                               Claim is inconsistent
                                                               Priority: $0.00                 Priority: $0.00
                       Neiman Marcus                                                                                           with the Reorganized
18    LENOX CORP.                      2034       7/17/2020    General Unsecured: $33,501.70   General Unsecured: $1,022.65
                       Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                      records
                                                               Total: $33,501.70               Total: $1,022.65


                                                               Administrative: $0.00           Administrative: $0.00
                                                               Secured: $0.00                  Secured: $0.00
                                                                                                                               Claim is inconsistent
      LIFETECH                                                 Priority: $0.00                 Priority: $0.00
                       Neiman Marcus                                                                                           with the Reorganized
19    RESOURCES,                       49         5/7/2020     General Unsecured: $16,142.74   General Unsecured: $1,753.21
                       Group LTD LLC                                                                                           Debtors’ books and
      LLC
                                                                                                                                      records
                                                               Total: $16,142.74               Total: $1,753.21


                                                               Administrative: $0.00           Administrative: $0.00
                                                               Secured: $0.00                  Secured: $0.00
                                                                                                                               Claim is inconsistent
                                                               Priority: $0.00                 Priority: $0.00
      LUCAS +          Neiman Marcus                                                                                           with the Reorganized
20                                     489        5/15/2020    General Unsecured: $40,547.50   General Unsecured: $5,959.68
      MCKEARN, LLC     Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                      records
                                                               Total: $40,547.50               Total: $5,959.68


                                                               Administrative: $0.00           Administrative: $0.00
                                                               Secured: $0.00                  Secured: $0.00
                                                                                                                               Claim is inconsistent
                                                               Priority: $0.00                 Priority: $0.00
      MIRROR IMAGE     Neiman Marcus                                                                                           with the Reorganized
21                                     95         5/8/2020     General Unsecured: $34,969.00   General Unsecured: $20,515.00
      HOME             Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                      records
                                                               Total: $34,969.00               Total: $20,515.00


                                                               Administrative: $0.00           Administrative: $0.00
                                                               Secured: $0.00                  Secured: $0.00
                                                                                                                               Claim is inconsistent
                                                               Priority: $0.00                 Priority: $0.00
                       Neiman Marcus                                                                                           with the Reorganized
22    MONTINO                          73         5/8/2020     General Unsecured: $46,000.00   General Unsecured: $18,503.25
                       Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                      records
                                                               Total: $46,000.00               Total: $18,503.25




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                                                               Schedule 1B
Ref     Name of                                                                                                               Reasoning for
                     Debtor Name      Claim #   Date Filed            Claim Amounts              Allowed Claim Amount
 #      Claimant                                                                                                                Objection
                                                             Administrative: $0.00           Administrative: $0.00
                                                             Secured: $0.00                  Secured: $0.00
                                                                                                                             Claim is inconsistent
      NUNA BABY                                              Priority: $0.00                 Priority: $0.00
                     Neiman Marcus                                                                                           with the Reorganized
23    ESSENTIALS,                    776        5/21/2020    General Unsecured: $33,565.87   General Unsecured: $3,869.64
                     Group LTD LLC                                                                                           Debtors’ books and
      INC
                                                                                                                                    records
                                                             Total: $33,565.87               Total: $3,869.64


                                                             Administrative: $0.00           Administrative: $0.00
                                                             Secured: $0.00                  Secured: $0.00
                                                                                                                             Claim is inconsistent
      ONE            The Neiman                              Priority: $0.00                 Priority: $0.00
                                                                                                                             with the Reorganized
24    JEANSWEAR      Marcus Group    2148       7/20/2020    General Unsecured: $23,794.70   General Unsecured: $6,045.00
                                                                                                                             Debtors’ books and
      GROUP LLC      LLC
                                                                                                                                    records
                                                             Total: $23,794.70               Total: $6,045.00


                                                             Administrative: $0.00           Administrative: $0.00
                                                             Secured: $0.00                  Secured: $0.00
      PENINSULA                                                                                                              Claim is inconsistent
                                                             Priority: $0.00                 Priority: $0.00
      HOME           Neiman Marcus                                                                                           with the Reorganized
25                                   25         5/7/2020     General Unsecured: $26,266.00   General Unsecured: $2,202.00
      COLLECTION     Group LTD LLC                                                                                           Debtors’ books and
      CO.                                                                                                                           records
                                                             Total: $26,266.00               Total: $2,202.00


                                                             Administrative: $0.00           Administrative: $0.00
                                                             Secured: $0.00                  Secured: $0.00
                                                                                                                             Claim is inconsistent
                                                             Priority: $0.00                 Priority: $0.00
      PETITE PLUME   Neiman Marcus                                                                                           with the Reorganized
26                                   869        5/26/2020    General Unsecured: $17,999.35   General Unsecured: $918.60
      LLC            Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                    records
                                                             Total: $17,999.35               Total: $918.60


                                                             Administrative: $32,140.00      Administrative: $32,140.00
                                                             Secured: $0.00                  Secured: $0.00
                                                                                                                             Claim is inconsistent
                                                             Priority: $0.00                 Priority: $0.00
      PLS/MAISON     Neiman Marcus                                                                                           with the Reorganized
27                                   1636       7/14/2020    General Unsecured: $32,140.00   General Unsecured: $0.00
      LABICHE        Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                    records
                                                             Total: $64,280.00               Total: $32,140.00


                                                             Administrative: $0.00           Administrative: $0.00
                                                             Secured: $0.00                  Secured: $0.00
                                                                                                                             Claim is inconsistent
                                                             Priority: $0.00                 Priority: $0.00
      RARE BEAUTY    Neiman Marcus                                                                                           with the Reorganized
28                                   808        5/22/2020    General Unsecured: $19,433.20   General Unsecured: $3,715.42
      BRANDS, INC.   Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                    records
                                                             Total: $19,433.20               Total: $3,715.42


                                                             Administrative: $0.00           Administrative: $0.00
                                                             Secured: $0.00                  Secured: $0.00
                                                                                                                             Claim is inconsistent
                                                             Priority: $16,675.00            Priority: $16,675.00
                     Neiman Marcus                                                                                           with the Reorganized
29    ROOTS SAS                      2112       7/20/2020    General Unsecured: $22,318.00   General Unsecured: $0.00
                     Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                    records
                                                             Total: $38,993.00               Total: $16,675.00


                                                             Administrative: $0.00           Administrative: $0.00
                                                             Secured: $0.00                  Secured: $0.00
                                                                                                                             Claim is inconsistent
                                                             Priority: $0.00                 Priority: $0.00
      ROYAL-PEDIC   Neiman Marcus                                                                                            with the Reorganized
30                                   391        5/13/2020    General Unsecured: $19,216.00   General Unsecured: $1,700.00
      MATTRESS MFG. Group LTD LLC                                                                                            Debtors’ books and
                                                                                                                                    records
                                                             Total: $19,216.00               Total: $1,700.00


                                                             Administrative: $0.00           Administrative: $0.00
                                                             Secured: $0.00                  Secured: $0.00
                                                                                                                             Claim is inconsistent
                                                             Priority: $0.00                 Priority: $0.00
                     Neiman Marcus                                                                                           with the Reorganized
31    SAVOY HOUSE                    835        5/26/2020    General Unsecured: $23,938.93   General Unsecured: $74.00
                     Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                    records
                                                             Total: $23,938.93               Total: $74.00


                                                             Administrative: $0.00           Administrative: $0.00
                                                             Secured: $0.00                  Secured: $0.00
                                                                                                                             Claim is inconsistent
                                                             Priority: $0.00                 Priority: $0.00
      SWIMWEAR       Neiman Marcus                                                                                           with the Reorganized
32                                   1184       6/10/2020    General Unsecured: $39,813.84   General Unsecured: $21,692.80
      ANYWHERE       Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                    records
                                                             Total: $39,813.84               Total: $21,692.80


                                                             Administrative: $0.00           Administrative: $0.00
                                                             Secured: $0.00                  Secured: $0.00
                                                                                                                             Claim is inconsistent
                                                             Priority: $0.00                 Priority: $0.00
                     Neiman Marcus                                                                                           with the Reorganized
33    TAI JEWELRY                    1017       6/1/2020     General Unsecured: $39,365.00   General Unsecured: $40.00
                     Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                    records
                                                             Total: $39,365.00               Total: $40.00




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                                                       Schedule 1B
Ref      Name of                                                                                                              Reasoning for
                      Debtor Name     Claim #   Date Filed            Claim Amounts              Allowed Claim Amount
 #       Claimant                                                                                                               Objection
                                                             Administrative: $0.00           Administrative: $0.00
                                                             Secured: $0.00                  Secured: $0.00
                                                                                                                             Claim is inconsistent
                                                             Priority: $0.00                 Priority: $0.00
      TAYLOR JAMES   Neiman Marcus                                                                                           with the Reorganized
34                                   397        5/13/2020    General Unsecured: $20,385.00   General Unsecured: $4,182.41
      LLC            Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                    records
                                                             Total: $20,385.00               Total: $4,182.41


                                                             Administrative: $0.00           Administrative: $0.00
                                                             Secured: $0.00                  Secured: $0.00
                                                                                                                             Claim is inconsistent
                                                             Priority: $0.00                 Priority: $0.00
                     Neiman Marcus                                                                                           with the Reorganized
35    THULE INC                      1377       6/24/2020    General Unsecured: $19,829.03   General Unsecured: $708.00
                     Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                    records
                                                             Total: $19,829.03               Total: $708.00


                                                             Administrative: $0.00           Administrative: $0.00
                                                             Secured: $0.00                  Secured: $0.00
                                                                                                                             Claim is inconsistent
                                                             Priority: $0.00                 Priority: $0.00
      WILD AND WOLF, Neiman Marcus                                                                                           with the Reorganized
36                                   1978       7/20/2020    General Unsecured: $35,497.80   General Unsecured: $10,762.30
      INC.           Group LTD LLC                                                                                           Debtors’ books and
                                                                                                                                    records
                                                             Total: $35,497.80               Total: $10,762.30


                                                             Administrative: $0.00           Administrative: $0.00
                                                             Secured: $0.00                  Secured: $0.00
                                                                                                                             Claim is inconsistent
      WILLIAM                                                Priority: $0.00                 Priority: $0.00
                     Neiman Marcus                                                                                           with the Reorganized
37    ARTHUR                         2558       7/28/2020    General Unsecured: $16,244.02   General Unsecured: $154.60
                     Group LTD LLC                                                                                           Debtors’ books and
      INC*61567*
                                                                                                                                    records
                                                             Total: $16,244.02               Total: $154.60


                                                             Administrative: $0.00           Administrative: $0.00
                                                             Secured: $0.00                  Secured: $0.00
                                                                                                                             Claim is inconsistent
      WINWARD                                                Priority: $0.00                 Priority: $0.00
                    Neiman Marcus                                                                                            with the Reorganized
38    INTERNATIONAL                  985        5/29/2020    General Unsecured: $30,033.10   General Unsecured: $560.00
                    Group LTD LLC                                                                                            Debtors’ books and
      INC.
                                                                                                                                    records
                                                             Total: $30,033.10               Total: $560.00


                                                             Administrative: $0.00           Administrative: $0.00
                                                             Secured: $0.00                  Secured: $0.00
                                                                                                                             Claim is inconsistent
                                                             Priority: $0.00                 Priority: $0.00
      WOLF DESIGNS, Neiman Marcus                                                                                            with the Reorganized
39                                   705        5/20/2020    General Unsecured: $44,838.94   General Unsecured: $3,453.54
      INC           Group LTD LLC                                                                                            Debtors’ books and
                                                                                                                                    records
                                                             Total: $44,838.94               Total: $3,453.54




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                         Schedule 2

                 Adjourned Claim Objections
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                                              Schedule 2
           Name of                                                                                Reasoning for
Ref #                   Debtor Name      Claim #   Date Filed            Claim Amounts
           Claimant                                                                                 Objection
                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                 Claim is inconsistent
                                                                Priority: $0.00
        ALEXANDROS      Neiman Marcus                                                            with the Reorganized
  1                                     99         5/8/2020     General Unsecured: $19,531.00
        GROUP LLC       Group LTD LLC                                                             Debtors’ books and
                                                                                                        records
                                                                Total: $19,531.00

                                                                Administrative: $0.00
                                                                Secured: $0.00                  Claim is inconsistent
                        Neiman Marcus                           Priority: $0.00                 with the Reorganized
 2      LOCALISED INC   Group LTD LLC   250        5/12/2020    General Unsecured: $40,220.09   Debtors’ books and
                                                                                                records
                                                                Total: $40,220.09

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                 Claim is inconsistent
                                                                Priority: $0.00
        MARION PARKE    Neiman Marcus                                                            with the Reorganized
  3                                     289        5/12/2020    General Unsecured: $19,932.33
        DESIGNS LLC     Group LTD LLC                                                             Debtors’ books and
                                                                                                        records
                                                                Total: $19,932.33

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                 Claim is inconsistent
                                                                Priority: $0.00
        MEMO AMERICA Neiman Marcus                                                               with the Reorganized
  4                                     415        5/14/2020    General Unsecured: $45,943.20
        INC.         Group LTD LLC                                                                Debtors’ books and
                                                                                                        records
                                                                Total: $45,943.20

                                                                Administrative: $0.00
                                                                Secured: $0.00
                                                                                                 Claim is inconsistent
                                                                Priority: $0.00
        WELLNESS        Neiman Marcus                                                            with the Reorganized
  6                                     484        5/15/2020    General Unsecured: $14,633.00
        MGMT LLC        Group LTD LLC                                                             Debtors’ books and
                                                                                                        records
                                                                Total: $14,633.00




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                         Schedule 3

                 Withdrawn Claim Objections
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                                              Schedule 3
          Name of                                                                               Reasoning for
Ref #                  Debtor Name      Claim #   Date Filed            Claim Amounts
          Claimant                                                                                Objection
                                                               Administrative: $0.00
                                                               Secured: $0.00
                                                                                               Claim is inconsistent
                                                               Priority: $0.00
        DCM INFOTECH   Neiman Marcus                                                           with the Reorganized
  1                                    886        5/26/2020    General Unsecured: $32,932.80
        LIMITED        Group LTD LLC                                                            Debtors’ books and
                                                                                                      records
                                                               Total: $32,932.80

                                                               Administrative: $0.00
                                                               Secured: $0.00
                                                                                               Claim is inconsistent
                                                               Priority: $0.00
        VIVA MODEL     Bergdorf                                                                with the Reorganized
  2                                    430        5/14/2020    General Unsecured: $24,000.00
        MANAGEMENT     Goodman Inc.                                                             Debtors’ books and
                                                                                                      records
                                                               Total: $24,000.00

                                                               Administrative: $0.00
                                                               Secured: $0.00
                                                                                               Claim is inconsistent
                                                               Priority: $0.00
                       Neiman Marcus                                                           with the Reorganized
  3     DUGUD LAB                      1091       6/4/2020     General Unsecured: $28,217.36
                       Group LTD LLC                                                            Debtors’ books and
                                                                                                      records
                                                               Total: $28,217.36

                                                               Administrative: $0.00
                                                               Secured: $0.00
                                                                                               Claim is inconsistent
        HALBERT USA                                            Priority: $0.00
                       Neiman Marcus                                                           with the Reorganized
  4     INC./DBA                       206        5/13/2020    General Unsecured: $32,566.78
                       Group LTD LLC                                                            Debtors’ books and
        TATEOSSIAN
                                                                                                      records
                                                               Total: $32,566.78

                                                               Administrative: $0.00
                                                               Secured: $0.00
                                                                                               Claim is inconsistent
                                                               Priority: $0.00
                       Neiman Marcus                                                           with the Reorganized
  5     13BC SARL                      1398       6/26/2020    General Unsecured: $14,304.00
                       Group LTD LLC                                                            Debtors’ books and
                                                                                                      records
                                                               Total: $14,304.00

                                                               Administrative: $0.00
                                                               Secured: $0.00
                                                                                               Claim is inconsistent
                                                               Priority: $0.00
                       Neiman Marcus                                                           with the Reorganized
  6     AMP CREATIVE                   284        5/12/2020    General Unsecured: $20,092.00
                       Group LTD LLC                                                            Debtors’ books and
                                                                                                      records
                                                               Total: $20,092.00

                                                               Administrative: $0.00
                                                               Secured: $0.00
                                                                                               Claim is inconsistent
        ART                                                    Priority: $0.00
                     Neiman Marcus                                                             with the Reorganized
  7     HEADQUARTERS                   923        5/27/2020    General Unsecured: $18,627.13
                     Group LTD LLC                                                              Debtors’ books and
        LLC
                                                                                                      records
                                                               Total: $18,627.13

                                                               Administrative: $0.00
                                                               Secured: $0.00
                                                                                               Claim is inconsistent
                                                               Priority: $0.00
        DR. VRANJES    Neiman Marcus                                                           with the Reorganized
  8                                    846        5/26/2020    General Unsecured: $29,268.62
        FIRENZE SPA    Group LTD LLC                                                            Debtors’ books and
                                                                                                      records
                                                               Total: $29,268.62




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